                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS

 RIPPY OIL CO.                                  §
                                                §
                                                §      CIVIL ACTION NO.
 VS.                                            §
                                                       4:22-cv-00276
                                                §
                                                §
                                                §
 ACE AMERICAN INSURANCE CO.,                    §
 CHARTIS SPECIALTY INSURANCE                    §
 CO., RISK SPECIALISTS COMPANIES                §
 INSURANCE AGENCY, INC                          §


ORDER GRANTING UNOPPOSED MOTION FOR EXTENSION OF TIME TO
               FILE RESPONSIVE PLEADINGS

       Considering the Unopposed Motion for Extension of Time to File Responsive

Pleadings by Defendant ACE American Insurance Company, the Court finds the Motion

is well-taken and should be granted.

       Therefore, ACE American Insurance Company is granted up to and including

February 10, 2022, to file its responsive pleadings to the Plaintiff’s Original Petition.

       Signed at Houston, Texas, on this _____ day of February 2022.



                                                    _______________________
                                                    Kenneth Hoyt
                                                    United States District Judge
